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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 PROLITEC INC.,

                   Plaintiff,
                                                   C.A. No. 20-984-WCB
                         v.

 SCENTAIR TECHNOLOGIES, LLC.,

                   Defendant.



                                    NOTICE OF SERVICE

         The undersigned counsel certifies that a true and correct copy of Notice of Videotaped

Deposition of Kevin T. McElroy was caused to be served via email on September 10, 2024 on

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 Dated: September 11, 2024                      AKERMAN LLP

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